    Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 1 of 42




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


GINA L. BIANCHI, an individual,

                       Plaintiff,
                                                         Civil Action No.:
        -against-                                        1:18-CV-0619 (GLS/DJS)

MICHAEL C. GREEN, JOHN CZAJKA,
KAREN DAVIS, JOHN DOE #1, JOHN DOE #2,
JOHN DOE #3, JOHN DOE #4, JANE ROE #1
JANE ROE #2, JANE ROE #3, AND JANE ROE #4

                       Defendants.




  MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT MICHAEL C. GREEN'S
    MOTION FOR SUMMARY JUDGMENT PURSUANT TO FED. R. CIV. P. 56




                                                     GIRVIN & FERLAZZO, P.C.
                                                     Attorneys for Defendant Michael C. Green
                                                     Office and P.O. Address
                                                     20 Corporate Woods Blvd.
                                                     Albany, New York 12211
                                                     Tel: (518) 462-0300
                                                     Fax: (518) 462-5037




Patrick J. Fitzgerald III, Esq. (Bar Roll No.: 511103)
Scott P. Quesnel, Esq. (Bar Roll No.: 513710)
  Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 2 of 42




                            TABLE OF CONTENTS

PRELIMINARY STATEMENT                                                            1

STATEMENT OF THE RELEVANT FACTS                                                  1

STANDARD OF REVIEW                                                              10

ARGUMENT                                                                        11

    POINT I     PLAINTIFF'S RETALIATION CLAIM
                UNDER THE FIRST AMENDMENT TO THE
                CONSTITUTION MUST BE DISMISSED                                  11

           A.   Plaintiff was Speaking as an Employee, Not a Citizen            12

           B.   Plaintiff was Not Speaking on a Matter of Public Concern        15

           C.   Under Pickering, Green Possessed the Managerial Discretion to
                Remove Plaintiff as His Special Counsel                         17

    POINT II GREEN IS ENTITLED TO QUALIFIED IMMUNITY
               ON PLAINTIFF'S CLAIM UNDER THE FIRST AMENDMENT                   23

    POINT III PLAINTIFF CANNOT SHOW THAT GREEN
                RETALIATED AGAINST HER IN VIOLATION
                OF THE EQUAL PROTECTION CLAUSE OR
                NEW YORK HUMAN RIGHTS LAW § 296(7)                              26

    POINT IV GREEN IS ENTITLED TO QUALIFIED IMMUNITY
               ON PLAINTIFF'S EQUAL PROTECTION CLAIM                            33

    POINT V PLAINTIFF'S CLAIM UNDER THE NYSHRL
              MUST BE DISMISSED AS A MATTER OF LAW                              34

CONCLUSION                                                                      35
    Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 3 of 42




                                 TABLE OF AUTHORITIES

Anderson v. Creighton,
      483 U.S. 635, 107 S.Ct. 3034 (2000)                                    24

Ashcroft v. al-Kidd,
       563 U.S. 731, 131 S.Ct. 2074 (2011)                               23, 24

Bonaffini v. City Univ. of NY .,
       2021 WL 2895688 (E.D.N.Y. July 9, 2021)                              34

Brosseau v. Haugen,
       543 U.S. 194, 125 S.Ct. 596 (2004)                                   24

Camreta v. Greene,
      563 U.S. 692, 131 S.Ct. 2020 (2011)                                25, 26

Celotex Corp. v. Catrett,
       477 U.S. 317, 106 S.Ct. 2548 (1986)                                  11

Cf. Riedinger v D'Amicantino,
        974 F.Supp. 322 (S.D.N.Y. 1997)                                     16

Chambers v. TRM Copy Ctrs. Corp.,
     43 F.3d 29 (2d Cir. 1994)                                              10

City of San Diego v. Roe,
        543 U.S. 77, 125 S.Ct. 521 (2004)                                   17

Connick v. Myers,
      461 U.S. 138, 103 S.Ct. 1684 (1983)                            15, 17, 24

Cox v. Warwick Valley Cent. Sch. Dist.,
       654 F.3d 267 (2d Cir. 2011)                                          11

D'Olimpio v. Crisafi,
      462 Fed.Appx. 79 (2d Cir. 2012)                                12, 13, 25

Dist. of Columbia v. Wesby,
        138 S.Ct. 577 (2018)                                            23, 24

Doe v. Bloomberg L.P.,
       36 N.Y.3d 450, 167 N.E.3d 454 (2021)                                 34

Ezekwo v. New York City Health & Hosp. Corp.,
      940 F.2d 775 (2d Cir. 1991)                                           16

                                              ii
    Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 4 of 42




Fahs Constr. Grp., Inc. v. Gray,
      725 F.3d 289 (2d Cir. 2013)                                           16

Garcetti v. Ceballos,
       547 U.S. 410, 126 S.Ct. 1951 (2006)                           12, 15, 24

Gordon v. City of N Y,
      612 Fed. Appx 629 (2d Cir. 2015)                                      15

Harlow v. 8 Fitzgerald,
      457 U.S. 800, 102 S.Ct. 2727 (1982)                                   23

Jackler v. Byrne,
       658 F.3d 225 (2d Cir. 2011)                                          12

Lane v. Franks,
       573 U.S. 228, 134 S.Ct. 2369 (2014)                              22, 24

Lewis v. Cowen,
       165 F.3d 154 (2d Cir. 1999)                                          15

Martin v NY State Dep't of Corr. Servs.,
       224 F.Supp.2d 434 (N.D.N.Y. 2002)                                    35

Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp.,
      475 U.S. 574, 106 S.Ct. 1348 (1986)                                   11

Matthews v. Corning Inc.,
      77 F.Supp.3d 275 (W.D.N.Y. 2014)                                      35

McMenemy v. City of Rochester,
     241 F.3d 279 (2d Cir. 2001)                                            26

Montero v. City of Yonkers,
      890 F.3d 386 (2d Cir. 2018)                                           11

Moriates v City of New York,
      2016 WL 3566656 (E.D.N.Y. 2016)                                       16

Norton v Breslin,
       565 Fed. Appx. 31 (2d Cir. 2014)                                     16

Patrowich v. Chemical Bank,
      63 N.Y.2d 541, 483 N.Y.S.2d 659, 473 N.E.2d 11 (N.Y. 1984)            34



                                               iii
    Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 5 of 42




Pearson v. Callahan,
       555 U.S. 223, 129 S.Ct. 808 (2009)                                     23

Pickering v. Board of Education,
       391 U.S. 563, 88 S.Ct. 1731 (1968)                      12, 17, 21, 22, 24

Reichle v. Howards,
       566 U.S. 658, 132 S.Ct. 2088 (2012)                                    24

Renken v. Gregory,
      541 F.3d 769 (7th Cir. 2008)                                            15

Ross v. Breslin,
        693 F.3d 300 (2d Cir. 2012)                                           12

Ruotolo v. City of New York,
       514 F.3d 184 (2d Cir. 2009)                                        15, 16

Rusk v. New York State Thruway Authority,
       37 F.Supp.3d 578 (W.D.N.Y. 2014)                                       13

Saulpaugh v. Monroe Community Hospital,
       4 F.3d 134 (2d Cir. 1993)                                              15

Stevenson v. N.Y.S. Dep't of Corr.,
       2022 WL 179768 (W.D.N.Y January 20, 2022)                              34

Sutter v. Dibello,
        2021 WL 930459 (E.D.N.Y. March 10, 2021)                              34

Terebisi v. Torreso,
       764 F.3d 217 (2d Cir. 2014)                                            23

Trans Sport, Inc. v. Starter Sportswear, Inc.,
       964 F.2d 186 (2d Cir. 1992)                                            11

Vega v. Hempstead Union Free Sch. Dist.,
       801 F.3d 72 (2d Cir. 2015)                                         26, 27

Weintraub v. Bd. of Educ.,
       593 F.3d 196 (2d Cir. 2010)                                           12

White v. Pauly,
       580 U.S. 73, 137 S. Ct. 548 (2017)                                    23




                                                 iv
   Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 6 of 42




Wilson v. Layne,
       526 U.S. 603, 119 S.Ct. 1692 (1999)                             23, 24

                                        STATUTES

42 U.S.C. § 1983                                                       26, 33

Fed. R. Civ. P. 12                                                         34

Fed. R. Civ. P. 56                                                   1, 11, 35

New York Civil Service Law §75                                             17

New York Executive Law §55                                             12, 13

New York Labor Law §740                                                    17

New York State Human Rights Law § 296                               26, 33, 34
    Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 7 of 42




                                PRELIMINARY STATEMENT

        Plaintiff Gina Bianchi ("Plaintiff') claims that Defendant Michael C. Green ("Green")

retaliated against her in violation of the First and Fourteenth Amendments to the United States

Constitution, and the New York State Human Rights Law by removing her as Special Counsel to

him at the New York State Division of Criminal Justice Services because she participated in an

interview with the New York State Office of the Inspector General. Discovery has been completed

and the undisputed evidence shows that Green did not retaliate against Plaintiff in violation of the

Constitution or state law. This case must, therefore, be dismissed pursuant to Fed. R. Civ. P. 56.

                         STATEMENT OF THE RELEVANT FACTS

       Green is an experienced attorney who previously served as District Attorney for the County

of Monroe, New York, for approximately seven years (2004-2011). Defendant Green's Northern

District Court Local Rule 56.1 Statement of Facts ("Def. L.R. 56.1 St.") ¶ 1. In 2012, Green was

appointed to serve as Executive Deputy Commissioner for the New York State Division of

Criminal Justice Services ("DCJS"). Def. L.R. 56.1 St. ¶ 2.

       DCJS is a multi-function criminal justice agency with extensive responsibilities, including

collection and analysis of statewide crime data; acting as the State's repository of criminal history

records; administration of federal and state funds that support local criminal justice programs; and

administration of the New York's Sex Offender Registry and DNA Databank. Def. L.R. 56.1 St.

¶ 3. As Executive Deputy Commission, Green was responsible for overseeing all aspects of

DCJS's operations, including its Office of Forensic Services ("OFS"). Def. L.R. 56.1 St. iflf 4-5.

       Plaintiff is an attorney who has been employed by DCJS for almost 30 years. Dell L.R.

56.1 St. ¶ 6. Plaintiff began with DCJS in 1994 as a Senior Attorney, and held that and several
    Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 8 of 42




other attorney positions until 2005, when she was promoted to serve as Deputy Commissioner and

Counsel for DCJS. Def. L.R. 56.1 St. ¶ 7.

        When Green began serving as Executive Deputy Commissioner for DCJS in 2012, no one

held the position of Director of OFS, although Plaintiff had been assigned to oversee the operations

of OFS. Def. L.R. 56.1 St. 41 8-9. At some point in 2012, Brian Gestring ("Gestring") was hired

to serve as Director of OFS. Def. L.R. 56.1 St. ¶ 10. Several months after Gestring was hired, a

concern was raised about statements he made in the workplace that some employees found to be

offensive. Def. L.R. 56.1 St. ¶ 11. The matter was investigated and Gestring was issued two letters

of counsel that were signed by Plaintiff and Green. Def. L.R. 56.1 St. ¶¶ 12-13.

       In 2014, Green was advised by the Office of Governor Andrew M. Cuomo ("Governor's

Office") that Defendant John Czajka ("Czajka") would replace Plaintiff as Deputy Commissioner

and Counsel for DCJS beginning in 2015. Def. L.R. 56.1 St. ¶ 14. Since Czajka's appointment

would cause Plaintiff to be removed as Deputy Commissioner and Counsel, Green decided to

create a new position for Plaintiff at DCJS as his Special Counsel. Def. L.R. 56.1 St. ¶ 15. Plaintiff

began to serve in that position in 2015. Def. L.R. 56.1 St. ¶ 16. In that role, Plaintiff continued to

work closely with Green as an advisor to him in various DCJS matters. Def. L.R. 56.1 St. ¶ 17.

Plaintiff also was entrusted to be a competent and reliable representative of DCJS and Green. Def.

L.R. 56.1 St. ¶ 18.

   1. Facts Relevant to Plaintiff's Claims.

       In May 2017, DCJS was alerted to a concern associated with a record that had been created

by OFS employee                                          Def. L.R. 56.1 St. ¶ 19. More specifically,

DCJS was advised that




                                                  2
    Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 9 of 42




record issue"). Def. L.R. 56.1 St. ¶ 20. Upon learning about the                   record issue, DCJS

immediately self-reported it to the New York State Office of the Inspector General ("OIG") on

May 23, 2017. Def. L.R. 56.1 St. If 21.

        Between May 23, 2017, and approximately late July 2017, the OIG conducted its

investigation of the             record issue. Def. L.R. 56.1 St. ¶ 22. During that time, Green was

advised, either by Czajka or the OIG directly, that the OIG had expanded its investigation to look

at broader issues. Def. L.R. 56.1 St. ¶ 23. The OIG did not, however, advise DCJS or Green about

any of the specific matters it was investigating. Def. L.R. 56.1 St. ¶ 24.

        In late July or early August 2017, Plaintiff, who had been temporarily working in New

York City at the time due to of a personal matter, advised Green that she had been asked to

participate in an interview with the OIG. Def. L.R. 56.1 St. ¶ 25. Plaintiff told Green that she

intended to attend the interview. Def. L.R. 56.1 St. ¶ 26. In response, Green told Plaintiff that he

supported her decision, and that she should go and tell the truth. Id.

        On August 3, 2017, Plaintiff met with two OIG investigators at the offices of the OIG

during her workday. Def. L.R. 56.1 St. if f If 27-28. At the outset of her interview, the investigators

explained to Plaintiff that

                                          Def. L.R. 56.1 St. ¶ 29. Plaintiff spoke with the OIG

investigators for about an hour and fifteen minutes. Def. L.R. 56.1 St. ¶ 30. There is no dispute as

to what Plaintiff said during her interview because it was audio recorded by the OIG. Def. L.R.

56.1 St. ¶ 31.

       In October 2017, the OIG advised Czajka and Green that it had completed its investigation

and wished to meet to discuss its findings. Def. L.R. 56.1 St. ¶ 32. On October 24, 2017, a meeting

was held that was attended by Green, Czajka, Deputy Inspector General Spencer Freedman



                                                  3
   Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 10 of 42




("Freedman"), and Inspector General Catherine Leahy Scott ("Leahy Scott"). Def. L.R. 56.1 St.

¶33. During the meeting, the OIG informed Green and Czajka that it had completed its

investigation of the                record issue, that it had concluded that                 acted

negligently, but not in violation of Executive Law § 55, that DCJS had handled the

record issue appropriately, and that the OIG would be issuing a letter to DCJS confirming these

conclusions. Def. L.R. 56.1 St. ¶ 34. The OIG also informed Green and Czajka that during the

course of the OIG's investigation of the               record issue, the OIG received information

from OFS employees that gave the OIG concern about the "work atmosphere" in OFS which, in

the opinion of the OIG, could create potential liability for DCJS. Def. L.R. 56.1 St.   ¶ 35. Upon
hearing this, Green expressed concern and advised the OIG that DCJS would immediately begin

an investigation. Def. L.R. 56.1 St. r[f 36-37.

       During the course of the October 24, 2017 meeting, the OIG advised Green and Czajka

that it had conducted audio recorded interviews with

                                                                                   Def' L.R. 56.1

St. ¶ 38. Green asked the OIG for the recordings of the interviews in order to assist DCJS to

investigate the concern the OIG identified. Def. L.R. 56.1 St. ¶ 39. Green and Czajka were advised

that they would be provided with the recordings. Def. L.R. 56.1 St. ¶ 40.

       After meeting with the OIG on October 24, 2017, Green directed DCJS's Affirmative

Action Officer Sandra Van Kampen ("Van Kampen") to conduct a thorough investigation of the

workplace atmosphere in OFS. Def. L.R. 56.1 St.       ¶ 41. Van Kampen previously served as an
investigator for the New York State Division of Human Rights ("Division") where she investigated

more than a thousand claims of workplace discrimination and harassment. Def. L.R. 56.1 St. ¶ 42-

43. Green made it clear that Van Kampen was to be given access to any documents, infoiination,



                                                  4
   Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 11 of 42




and witnesses she felt she needed in order to conduct her investigation. Def. L.R. 56.1 St. ¶ 44. In

order to provide Van Kampen with all pertinent sources of information, Green directed Czajka to

contact the OIG and request the recordings of the DCJS employee interviews. Def. L.R. 56.1 St. ¶

45. Freedman subsequently advised

                                                                                            Def. L.R.

56.1 St. 1146.

       By mid-November 2017, Van Kampen was actively conducting her investigation, but the

OIG continued to refuse to disclose the recordings of the interviews of Schiavone and Levine. Def.

L.R. 56.1 St. ¶ 47. By this time, Green also had learned that other former and current DCJS

employees had been interviewed by the OIG, which the OIG had not previously identified. Def.

L.R. 56.1 St. ¶ 48. Since Green believed that reviewing all of the recordings that led the OIG to

express its concerns to him on October 24, 2017, was important for Van Kampen to review as part

of her investigation, he sent an email to Leahy Scott on November 19, 2017,

                                                                                            Def. L.R.

56.1 St. 11¶ 49-50. Green received an immediate email response from Leahy Scott in which she

objected to the fact that Green had put his request in writing. Def. L.R. 56.1 St. ¶ 51. Early on the

morning of November 28, 2017, Green sent another email to Leahy Scott reiterating his request

for the recordings of the OIG's interviews with DCJS employees. Def. L.R. 56.1 St. ¶ 52.

       At some point on November 28, 2017, Leahy Scott issued a formal letter of investigative

findings to DCJS regarding the               record issue. Def. L.R. 56.1 St. ¶ 53. The letter stated,

among other things, tha



                                                          Def. L.R. 56.1 St. ¶ 54. Notably, Leahy



                                                 5
   Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 12 of 42




Scott's November 28, 2017 letter did not contain any findings directly concerning Gestring or the

workplace atmosphere in OFS. Def. L.R. 56.1 St. ¶ 55.

        Sometime between October 24, 2017, and December 3, 2017, Green listened to the audio

recording of Plaintiff's OIG interview. Def. L.R. 56.1 St. ¶ 56. Green reviewed Plaintiff's

responses to the questions posed to her and evaluated them based on what she had been asked,

how she responded, and what Green knew to be true at the time. Def. L.R. 56.1 St. ¶ 57. Upon

doing so, Green became very concerned by the manner in which Plaintiff comported herself during

portions of her interview with the OIG. Def. L.R. 56.1 St. ¶ 58. For example, shortly after Plaintiff

was sworn under oath and began speaking with the OIG investigators, she began her response to

one of the first questions posed to her                                    Def. L.R. 56.1 St. ¶ 59.

Plaintiff is an attorney who had practiced law for more than twenty years at the time she met with

the OIG. Def. L.R. 56.1 St. ¶ 60. Green felt that it should have been obvious to anyone with her

level of experience that audio recorded statements given under oath to an agency like an OIG

would not be                           Def. L.R. 56.1 St. ¶ 61. Plaintiff also referenced

                                                                                Def. L.R. 56.1 St. 1([

62. Green could not understand why Plaintiff would make statements to the OIG that she knew to

be based only on rumors, as opposed to reliable and established facts. Def. L.R. 56.1 St. ¶ 63. If

Plaintiff had been asked a direct question by the OIG concerning whether she had heard any

particular rumors, then Green had no objection to her providing a truthful response. Def. L.R. 56.1

St. ¶ 64. Green found it unacceptable, however, for a person in Plaintiff's high level counsel

position to simply talk about rumors that she heard while speaking under oath to an agency

investigating DCJS as if they were fact, without making it abundantly clear that she did not know

whether the information she was providing was true or just a rumor. Def. L.R. 56.1 St. ¶ 65. Green



                                                 6
   Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 13 of 42




also was concerned that Plaintiff made definitive statements to the OIG about matters where she

lacked sufficient background information to offer those statements. Def. L.R. 56.1 St. ¶ 66.

Plaintiff offered                                                                which Green believed

she did not have the underlying factual basis that would allow her to draw those conclusions or

form those opinions. Def. L.R. 56.1 St. ¶ 67. To the extent that Plaintiff was speculating, Green

felt that she did not make it clear to the OIG that she was doing so. Def. L.R. 56.1 St. ¶ 68. Finally,

there were things that Plaintiff shared with the OIG that Green believed Plaintiff had not previously

shared with him. Def. L.R. 56.1 St. ¶ 69. Green was deeply concerned that Plaintiff had informed

the OIG about matters that, to the extent she was accurate, she should have previously brought to

his attention in her role as Special Counsel to him so that he could address them. Def. L.R. 56.1

St. ¶ 70. Since Plaintiff had not done this, Green lost confidence in his ability to trust that Plaintiff

was providing him with all of the information he needed to perform his role as Executive Deputy

Commissioner for DCJS, or that the information she was providing to him was based on reliable

facts. Def. L.R. 56.1 St. ¶ 71.

       Green scheduled a meeting with Plaintiff for December 5, 2017, to go over the concerns

he had with some of the statements that Plaintiff made to the OIG. Def. L.R. 56.1 St. TT 72-73. In

advance of that meeting, Green received an email from Czajka, copied to Mark Bonacquist

("Bonacqust"), First Deputy Commissioner for DCJS,                                          that Czajka

identified with Plaintiff's statements. Def. L.R. 56.1 St. ¶ 74. Green reviewed that email in

anticipation of his meeting with Plaintiff. Def. L.R. 56.1 St. ¶ 75.

       Prior to meeting with Plaintiff, Green asked Czajka to communicate with the Governor's

Office about removing Plaintiff as Special Counsel. Def. L.R. 56.1 St. ¶ 76. Green's purpose in

doing so was to ensure that the Governor's Office did not have any objection to Plaintiff's removal,



                                                   7
   Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 14 of 42




and to confirm that the Governor's Office did not see any legal concerns associated with her

removal. Def. L.R. 56.1 St. ¶ 77. Czajka spoke with Adam Silverman ("Silverman"), Assistant

Counsel to the Governor's Office, about removing Plaintiff as Special Counsel, and Czajka

subsequently advised Green that the Governor's Office did not object to removing Plaintiff and

that it did not raise any other concerns. Def. L.R. 56.1 St. r 78-79. Green also directly

communicated with his contact at the Governor's Office, Assistant Deputy Secretary for Public

Safety Joseph Popcun ("Popcun"), about removing Plaintiff as Special Counsel. Def. L.R. 56.1 St.

¶ 80. Green's purpose in doing so was to ensure that the Governor's Office did not have any
objection to Plaintiff's removal, and to confirm that the Governor's Office did not have any legal

concerns associated with her removal. Def. L.R. 56.1 St. ¶ 81. Popcun did not express any

objection to removing Plaintiff as Special Counsel or raise any other concerns. Def. L.R. 56.1 St.

  82.

        On December 5, 2017, Green met with Plaintiff to go over some of the statements that she

made to the OIG. Def. L.R. 56.1 St. ¶ 83. Green also directed Van Kampen to attend the meeting

as a witness. Def. L.R. 56.1 St. 1184. At the meeting, Green asked Plaintiff to provide him with the

factual basis for a number of statements she made to the OIG. Def. L.R. 56.1 St. ¶ 85. Green also

asked Plaintiff if she was aware of certain information that contradicted or conflicted with the

statements she made to the OIG. Def. L.R. 56.1 St. ¶ 86. Green's goal in asking Plaintiff these

questions was to determine if these statements she had made to the OIG were based upon

established facts, as opposed to speculation, incomplete infouiiation and rumors. Def. L.R. 56.1

St. ¶ 87. There were a significant number of instances where Plaintiff admitted to Green during

this meeting that she did not have a factual basis for certain statements, that she was not aware of

certain information that contradicted or conflicted with other statements that she made to the OIG,



                                                 8
   Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 15 of 42




and that she had made statements to the OIG that were based on speculation, incomplete

infoiiiiation and rumors without clearly stating to the OIG that she did not have a factual basis for

the statements. Def. L.R. 56.1 St. ¶¶ 88-90. For example, Plaintiff gave the OIG the unsolicited

opinion that

                                                               Def. L.R. 56.1 St. ¶ 91. Green found

this characterization to be dramatically insistent with his knowledge of                  who Green

interacted with on a regular basis as                                  Def. L.R. 56.1 St. ¶ 92. When

Green asked Plaintiff to provide him with a factual basis for this

she was unable to do so. Def. L.R. 56.1 St. ¶ 93. From this, Green concluded that Plaintiff gave

the OIG an unsolicited, negative opinion about DCJS's                                     hat was not

based upon any articulable facts. Def. L.R. 56.1 St. ¶ 94.

        At certain points during this meeting, Green also advised Plaintiff that, given the serious

nature of the questions she had been asked, he would have expected a seasoned attorney such as

Plaintiff working in a high-level counsel position would not respond to questions while under oath

if the attorney did not have personal knowledge about the matters being discussed, or without

making it clear that any statements that were made were not based upon personal knowledge. Def.

L.R. 56.1 St. ¶ 95. Green also told Plaintiff that he expected that a highly-experienced attorney

like her would not offer an opinion unless she was specifically asked to do so, and that an opinion

should only be provided if she had an adequate factual basis for the opinion. Def. L.R. 56.1 St. ¶

96. Green made it clear to Plaintiff that he did not expect someone in her position to simply spitball

thoughts and opinions off the top of her head while making sworn statement, as Green concluded

she did. Def. L.R. 56.1 St. ¶ 97.




                                                  9
   Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 16 of 42




           Based upon Green's review of Plaintiff's OIG interview and Green's meeting with Plaintiff

on December 5, 2017, Green concluded that Plaintiff had not exhibited the level of skill and

expertise while making certain sworn statements to the OIG that he believed was necessary to

competently perform the role of Special Counsel to the Executive Deputy Commissioner of DCJS.

Def. L.R. 56.1 St. ¶ 98. Green did not, however, believe that he needed to take the additional steps

that would be necessary to terminate Plaintiff's employment with DCJS because he felt that

Plaintiff still had the ability to perform the role of an Associate Attorney for DCJS. Def. L.R. 56.1

St. ¶ 99

       Following his meeting with Plaintiff, Green had a letter prepared for Plaintiff which set

forth the decision to remove her from the position of Special Counsel. Def. L.R. 56.1 St. ¶ 100.

Green met with Plaintiff later in the day on December 5, 2017, and informed her that the decision

had been made to remove her as Special Counsel. Def. L.R. 56.1 St. ¶ 101.

                                     STANDARD OF REVIEW

       Summary judgment may be granted where, as here, "there is no genuine issue of material

fact to be tried and that the facts as to which there is no such issue warrant judgment for the moving

party as a matter of law." See Chambers v. TRM Copy Ctrs. Corp., 43 F.3d 29, 36 (2d Cir. 1994)

(citations omitted). When analyzing a summary judgment motion, the court "cannot try issues of

fact; it can only determine whether there are issues to be tried." Chambers, 43 F.3d at 36-37

(quotation and other citation omitted). In assessing the record to determine whether a genuine issue

of material fact exists, the court is required to resolve all ambiguities and draw all reasonable

inferences in favor of the nonmoving party. Id. A party opposing a motion for summary judgment

may not simply rely on the assertions in its pleading, but rather must "by [the party's] own

affidavits, or by the 'depositions, answers to interrogatories, and admissions on file,' designate



                                                  10
   Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 17 of 42




`specific facts showing that there is a genuine issue for trial.'" Celotex Corp. v. Catrett, 477 U.S.

317, 324, 106 S.Ct. 2548 (1986) (quoting Fed. R. Civ. P. 56(c), (e)). To defeat a motion for

summary judgment, a plaintiff "must do more than simply show that there is some metaphysical

doubt as to the material facts." Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S.

574, 586, 106 S.Ct. 1348, 1356 (1986). A plaintiff must "come forward with enough evidence to

support a jury verdict in [his] favor, and the motion will not be defeated merely ... on the basis of

conjecture and surmise." Trans Sport, Inc. v. Starter Sportswear, Inc., 964 F.2d 186, 188 (2d Cir.

1992).

                                          ARGUMENT

                                             POINT I

                 PLAINTIFF'S RETALIATION CLAIM UNDER THE
         FIRST AMENDMENT TO THE CONSTITUTION MUST BE DISMISSED

         Plaintiff's interview with the OIG was not constitutionally protected speech and, even it

was, Green's decision to remove Plaintiff as Special Counsel for DJCS did not violate the First

Amendment. A plaintiff asserting a claim for retaliation under the First Amendment must

demonstrate: (1) she engaged in constitutionally protected speech; (2) she suffered an adverse

employment action; and (3) there was a causal connection between the adverse action and the

protected speech. Montero v. City of Yonkers, 890 F.3d 386, 394 (2d Cir. 2018) (citing Cox v.

Warwick Valley Cent. Sch. Dist., 654 F.3d 267, 272 (2d Cir. 2011)). Green does not dispute for

the purpose of this motion that Plaintiff experienced an adverse employment action when she was

removed as Special Counsel for DCJS.

         The Court should begin with the question of whether Plaintiff engaged in constitutionally

protected speech. "Speech by a public employee is protected by the First Amendment only when

the employee is speaking as a citizen on a matter of public concern." Ross v. Breslin, 693 F.3d


                                                11
   Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 18 of 42




300, 305 (2d Cir. 2012) (quotations and alteration omitted). Even if a public employee meets this

test, the analysis does not necessarily end there. Under a defense established in Pickering v. Board

of Education, 391 U.S. 563, 88 S.Ct. 1731 (1968), the governmental entity still prevails if it shows

that it "had an adequate justification for treating the employee differently from any other member

of the general public." Garcetti v. Ceballos, 547 U.S. 410, 418, 126 S.Ct. 1951 (2006). Under this

analysis, "[a] government entity has broader discretion to restrict speech when it acts in its role as

employer, but the restrictions it imposes must be directed at speech that has some potential to affect

the entity's operations." Id. Whether these elements are satisfied are questions of law for a court to

decide. Jackler v. Byrne, 658 F.3d 225, 235 (2d Cir. 2011).

       A. Plaintiff was Speaking as an Employee, Not a Citizen

       The undisputed evidence revealed through discovery establishes that Plaintiff spoke with

the OIG pursuant to New York Executive Law § 55. Therefore, she was speaking in her capacity

as a public employee, and not as a private citizen. The "controlling factor" in determining whether

a public employee is speaking as an employee or a citizen is whether the "expressions were made

pursuant to his [employment] duties." Garcetti, 547 U.S. at 421. An expression is pursuant to one's

employment duties if, among other reasons, it is "speech that owes its existence to a public

employee's professional responsibilities." Weintraub v. Bd. of Educ., 593 F.3d 196, 201 (2d

Cir.2010 (quoting Garcetti, 547 U.S. at 421). The Second Circuit specifically held in D 'Olimpio

v. Crisgfi, 462 Fed.Appx. 79 (2d Cir. 2012), that a New York State employee who spoke with the

OIG pursuant to the employee's obligations under New York Executive Law § 55 was speaking

in their official capacity and not as a citizen. D 'Olimpio, 462 Fed.Appx. at 80-81; See also Rusk v.

New York State Thruway Authority, 37 F. Supp .3 d 578, 584 (W. D .N. Y. 2014) (holding " [t] he

Plaintiff as a public employee, was required to report promptly to the OIG any information



                                                 12
   Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 19 of 42




regarding fraud or corruption."). In reaching this conclusion, the Court specifically referenced the

fact that the plaintiff "engaged in speech mandated by law as a duty of his job." D 'Olimpio, 462

Fed.Appx. at 81, fn. 1.

        At the outset of this lawsuit, Green argued that Plaintiffs statements to the OIG were made

pursuant to Executive Law § 55. Dkt. No. 36-2, Point II(b). This Court rejected that argument and

found that Defendants "fail[ed] to demonstrate that Bianchi had any information concerning

corruption, fraud, criminal activity, or conflicts of interest or abuse." Dkt. No. 75, p. 13 (citation

to record omitted). The Court's decision rested upon the pre-discovery assumption that Plaintiffs

statements to the OIG did not fall within the OIG' s jurisdiction and, therefore, enjoyed First

Amendment protection. The record developed during discovery, however, establishes that by the

time the OIG asked to speak with Plaintiff, it was in the process of investigating matters that it

already had concluded fell within its jurisdiction, and that, as a result, Plaintiff was obligated to

meet with the OIG as part of her employment duties.

       The OIG views its jurisdiction expansively. Freedman testified that

                                                                           Def. L.R. 56.1 St. IT 102.

Using this broad definition, Freedman testified:




Def. L.R. 56.1 St. ¶ 103. Once the OIG determined

              Plaintiff was mandated by Article 4-A of the New York Executive Law to meet with




                                                 13
   Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 20 of 42




the OIG. Freedman confirmed this during his deposition, where he offered the following

testimony:




Def. L.R. 56.1 St. ¶ 104. In fact, according to Freedman, Plaintiff could have been disciplined in

her employment if she had refused to speak with the OIG:




Def. L.R. 56.1 St. ¶¶ 105-106.

       The evidence obtained during discovery also shows that Plaintiff believed that she was

required to meet with the JOG. Plaintiff told Green while meeting with him on December 5, 2017,

that she agreed to be interviewed by the OIG                                         and that

                                     Def. L.R. 56.1 St. ¶ 107. In handwritten noted that Plaintiff

created after meeting with Green on December 5, 2017, Plaintiff wrote, among other things,

                     in reference to the OIG. Def. L.R. 56.1 St. ¶ 108. In an email that Plaintiff

sent to Freedman on December 10, 2017, Plaintiff referred to

                      Def. L.R. 56.1 St. ¶ 109.

       Since Plaintiff contacted Green before speaking with the OIG, met with the OIG during

noiiiial work hours, and was                                    about matters that solely related to

her employment with DCJS, Def. L.R. 56.1 St. TT 110-111, Plaintiff was acting as an employee

and not a private citizen (e.g. in her official capacity) when she spoke with the OIG. As a result,

her speech was not entitled to protection under the First Amendment.




                                                  14
   Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 21 of 42




        B. Plaintiff was Not Speaking on a Matter of Public Concern

        Plaintiffs statements to the OIG also did not relate to any matter of public concern. The

Supreme Court has defined "a matter of public concern" as one that relates to a "political, social,

or other concern to the community." Connick v. Myers, 461 U.S. 138, 146, 103 S.Ct. 1684 (1983).

"Whether an employee's speech addresses a matter of public concern is a question of law for the

court to decide, taking into account the content, form, and context of a given statement as revealed

by the whole record." Ruotolo v. City of New York, 514 F.3d 184, 189 (2d Cir. 2009) (quoting

Lewis v. Cowen, 165 F.3d 154, 163 (2d Cir. 1999)); Gordon v. City of NY, 612 Fed. Appx. 629,

631 (2d Cir. 2015), quoting Lewis v. Cowen, 165 F.3d 154, 163 (2d Cir. 1999) (holding that courts

look to the "content, form, and context" of the speech and ask "whether the speech was calculated

to redress personal grievances or whether it had a broader public purpose"). As the Supreme Court

has observed, "we are compelled to examine for ourselves the statements in issue and the

circumstances under which they [are] made to see whether or not they . . . are of a character which

the principles of the First Amendment . . . protect" Connick, 461 U.S. at 150 n. 10 (internal citations

omitted).

        The Court possesses the transcript of Plaintiff's recorded OIG interview. Fitzgerald Aff. ¶

10, Ex. H. Far from resembling anything close to "activity engaged in by citizens who do not work

for the government", Garcetti, 547 U.S. at 423, Plaintiff's private interview with the OIG was a

means to fulfill her employment requirements. Renken v. Gregory, 541 F.3d 769, 774 (7th Cir.

2008). The transcript does not depict a person who is attempting to make any type of

"contribution[] to the civic discourse." Garcetti, 547 U.S. at 422. As Plaintiff stated in a December

10, 2017 email to Freedman,                                             Def. L.R. 56.1 St. ¶ 112, and



                                                  15
   Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 22 of 42




the friendly discussion that she had with two OIG investigators does not reflect an effort to reveal

any sort of systemic problem that may give rise to a public concern. See Saulpaugh v. Monroe

Community Hospital, 4 F.3d 134, 143 (2d Cir. 1993) (holding that to potentially be protected by

the First Amendment, the speech must implicate "system-wide" discrimination); Moriates v City

ofNew York, 2016 WL 3566656, at *5 (E.D.N.Y. 2016) (holding that "even if [the plaintiff] spoke

out on unlawful discriminatory conduct against her coworkers, objecting to individualized

discrimination is not protected First Amendment speech because it is 'not connected to any broader

policy or practice and thus, do[es] not raise a public concern of systemic discrimination").

Viewing Plaintiff's statements objectively and as a whole, they concerned personnel issues in one

office, in one administrative agency within the government of the State of New York. This is not

protected First Amendment speech, particularly where the Second Circuit expressly has held that

a "generalized public interest in the fair or proper treatment of public employees is not enough" to

be a matter of public concern. Ruotolo, 514 F.3d at 190. Moreover, personal grievances are not

brought within the protection of the First Amendment by "the mere fact that one or two of [a public

employee's] comments could be construed broadly to implicate matters of public concern." Id.

(citing Ezekwo v. New York City Health & Hosp. Corp., 940 F.2d 775, 781 (2d Cir.1991)).

       The conclusion that Plaintiff did not engage in constitutionally protected speech is

reinforced by the non-public form of Plaintiff's statements. The Second Circuit has been clear that

speech is not on a matter of public concern where the speech at issue was not intended to be made

public. Fahs Constr. Grp., Inc. v. Gray, 725 F.3d 289, 291 (2d Cir. 2013) (finding relevant the fact

that "[n]othing in the complaint suggests that [the plaintiff] made a single public statement or ever

intended to make such a statement."); Norton v Breslin, 565 Fed. Appx. 31, 33-34 (2d Cir. 2014)

(supporting holding finding no First Amendment protection because of the "non-public" form of



                                                 16
    Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 23 of 42




the plaintiff's complaints); Cf. Riedinger v D'ilmicantino, 974 F.Supp. 322, 330 (S.D.N.Y. 1997)

(attempting to bring a matter to the attention of the community). Plaintiff admits that



                See Dkt. No. 76, ¶¶ 24, 26, 75. Thus, the principles of the First Amendment do not

apply to the context in which Plaintiff made her statements to the OIG. Therefore, the Court should

conclude that they did not address a matter of public concern and were not unprotected by the First

Amendment.'

         C. Under Pickering, Green Possessed the Managerial Discretion to Remove Plaintiff
            as His Special Counsel

         Even if Plaintiff were speaking as a private citizen on a matter of public concern when she

met with the OIG, Green had the right to remove Plaintiff as his Special Counsel under the second

prong of Pickering. In Pickering, and then again in Connick, the Supreme Court sought to strike

"a balance between the interests of the [employee], as a citizen, in commenting upon matters of

public concern and the interest of the State, as an employer, in promoting the efficiency of the

public services it performs through its employees." Connick, 461 U.S. at 140 (quoting Pickering,

391 U.S. at 568). On the one hand, "[a] government employee does not relinquish all First

Amendment rights otherwise enjoyed by citizens just by reason of his or her employment." City

of San Diego v. Roe, 543 U.S. 77, 80, 125 S.Ct. 521 (2004). On the other hand, "a governmental




  Finding that Plaintiff did not engage in constitutionally protected speech does not mean that Plaintiff was without a
potential legal remedy. See New York Civil Service Law §75-b(2)(a)(ii) (providing that "[a] public employer shall
not dismiss or take other disciplinary or other adverse personnel action against a public employee regarding the
employee's employment because the employee discloses to a governmental body information . . . which the employee
reasonably believes to be true and reasonably believes constitutes an improper governmental action"). Plaintiff elected
to pursue her claims in this action under the First Amendment rather than under Civil Service Law §75-b(2)(a)(ii); see
also New York Labor Law §740(3) (prohibiting retaliation in employment for engaging in certain forms of protected
activity).


                                                          17
   Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 24 of 42




employer may impose certain restraints on the speech of its employees, restraints that would be

unconstitutional if applied to the general public." Id.

        Plaintiff began working for Green when he began as Executive Deputy Commissioner for

DCJS in 2012. Def. L.R. 56.1 St. TT 16-18. In 2015, when Czajka became Deputy Commissioner

and Counsel, Green created a position for Plaintiff as his Special Counsel. Def. L.R. 56.1 St. ¶ 15.

Plaintiff testified that she worked closely with Green in that role, which she characterized as a

position of trust. Def. L.R. 56.1 St. in 113-114. Green relied on Plaintiff to be a competent source

of information and to comport herself with a high degree of professionalism when communicating

with others about DCJS matters. Def. L.R. 56.1 St. ¶ 115.

        Green was deposed at length by Plaintiff during discovery, and he offered extensive

testimony about his concerns associated with the way Plaintiff conducted herself while meeting

with the OIG. Affidavit of Patrick Fitzgerald III, Esq. ("Fitzgerald Aff.") ¶ 5, Ex. C. Green also

served written discovery responses, see Fitzgerald Aff. ¶ 9, Ex. G, Response Nos. 6, 11, and has

provided the Court with a detailed affidavit in connection with this motion where he set forth the

reason why Plaintiff was removed as Special Counsel.

       During his deposition, Green discussed the Plaintiff's                        comment that

Plaintiff made to the OIG. Def. L.R. 56.1 St. ¶ 116. Green was incredulous about this, testifying

"she's an attorney who's practiced for 20 plus years, she's serving in a role of special counsel to

me and she's under oath and she says don't quote me on it. You know, it's just obvious you are

going to be quoted. It's being recorded." F Def L.R. 56.1 St. ¶ 117. Green also testified about his

concerns associated with Plaintiff's reference                      in her statements to the CHG.

Def. L.R. 56.1 St. ¶ 118. As Green testified, he had no concern if Plaintiff "was asked a direct

question, you know, please tell me what the rumor mill says then by all means that would be an



                                                 18
   Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 25 of 42




appropriate response. But to me when you are testifying about a matter of this importance under

oath and you are volunteering infoiiiiation about                  you know, particularly when you

are an experienced attorney, that raised serious red flags to me." Def. L.R. 56.1 St. ¶ 119. Green

further testified that he was concerned by his perception that "on many occasions it appeared to

me that [Plaintiff] was making statements or drawing conclusions or describing things when it

seemed clear to me that she could not possibly have the underlying facts which would allow her

to draw those conclusions or make those opinions and so that was a concern to me that she would

be speculating on things. Again, while she's under oath without any factual basis but as to

speculate." Def. L.R. 56.1 St. ¶ 120. Finally, Green expressed "concern that [Plaintiff] was talking

about one or more things which if, in fact, they had happened and she was aware of them I would

have expected her to immediately bring to my attention in her role as special counsel which she

had not done." Def. L.R. 56.1 St. ¶ 121.

       In order to assess whether Plaintiff had a factual basis for many of the statements that she

made to the OIG and to determine if she possessed information about important matters that had

not been shared with him, Green directed Plaintiff to attend the meeting with him on December 5,

2017. Def. L.R. 56.1 St. ¶ 122. The contemporaneous notes that Green created during that meeting

confiuiii the purpose of the meeting. Def. L.R. 56.1 St. ¶ 123. For instance, Green noted:




          Def. L.R. 56.1 St. ¶ 124. During his deposition, Green described his intent and thought

process in meeting with Plaintiff on December 5, 2017 at length:



                                                19
   Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 26 of 42




Def. L.R. 56.1 St. ¶ 125.

       During the course of Green's meeting with Plaintiff on December 5, 2017, Plaintiff's

statements to him confirmed his suspicions that she did not have a factual basis for many of the

beliefs and opinions she expressed to the OIG. Green's contemporaneous notes from that meeting

reflect Plaintiff's troubling responses to questions about her statements including that:




                                                 20
    Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 27 of 42




                         Def. L.R. 56.1 St. ¶ 126. According to Green's notes, he asked Plaintiff

                                                                                                                 and,

at the end of the meeting, advised Plaintiff that if she did not have information to base an opinion

upon, she should have responded

                                                                       Def. L.R. 56.1 St. ¶ 127.2

         Similarly, Van Kampen, the Affiimative Action Officer whom Green directed to be present

during the December 5, 2017 meeting, testified that Plaintiff was asked if it was appropriate to

offer an opinion about a specific matter when she did not know all of the facts, to which Plaintiff

responded                             Def. L.R. 56.1 St. ¶ 130. Van Kampen testified that Plaintiff also

admitted that

                                                                                                     Def. L.R. 56.1

St. ¶ 131. Van Kampen further testified that Plaintiff admitted that

                                                                             Def. L.R. 56.1 St. ¶ 132, and that

Plaintiff responded

                                                          Def. L.R. 56.1 St. ¶ 133.

         Based upon Plaintiff's responses to Green's questions on December 5, 2017, Green

concluded that he could no longer be confident that the advice he would receive from his Special

Counsel would be based upon careful reasoning and analysis of established and reliable facts. Def.

L.R. 56.1 St. ¶134. As a result, Green decided that Plaintiff could no longer serve in the special



 Plaintiff offered a description of her December 5, 2017 meeting with Green during a secretly-recorded conversation
with Freedman on December 9, 2017. According to that recording, Green told Plaintiff that if she did not have personal
knowledge about something, she should have said "I can't speak to that." Def. L.R. 56.1 St. ¶¶ 128-129.

                                                         21
   Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 28 of 42




position that he created for her in 2015. Def. L.R. 56.1 St. ¶ 135. Under Pickering, Green retained

the managerial discretion to make this decision.

        During oral argument in Lane v. Franks, 573 U.S. 228, 134 S.Ct. 2369 (2014), the

following exchange occurred between Justice Sotomayor and Lane's counsel, which exemplifies

the lawfulness of Green's actions in this case.

       Justice Sotomayor:      So what happens in a situation where a police officer gets on the
                               stand and in testifying admits to corruption, or admits to — or does it
                               in a slovenly way, comes to Court dressed in a clown suit? Could
                               the employer fire him?
       Lane's Counsel:         I think the answer is almost certainly yes, and that occurs through
                               the application of the Pickering balancing test . . . in the case of the
                               clown suit, in the case of testimony that's unprepared, reflects badly
                               on the department, all of those are justifications that an employer
                               can use to argue that, even though the First Amendment applies,
                               discipline is nevertheless warranted."

Fitzgerald Aff. ¶ 11, Ex. I, pp. 8-9. While not as absurd as the literal "clown suit" example

discussed during oral argument in Lane, Green felt that the uninformed opinions that Plaintiff

offered to the OIG in response to certain questions and the sloppy manner in which she conducted

herself warranted her removal for what was, in essence, a failure to display the analytical skills he

expected from someone who was in a high ranking counsel position that reported directly to him.

Def. L.R. 56.1 St. ¶ 136. As Green testified during his deposition




                                                                                 Def. L.R. 56.1 St. ¶

137. Under Pickering, Green retained the discretion to make this managerial decision to remove

Plaintiff as his Special Counsel without offending the First Amendment.




                                                  22
   Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 29 of 42




        For the foregoing reasons, Plaintiffs First Cause of Action under the First Amendment to

the United States Constitution must be dismissed.

                                             POINT II

                  GREEN IS ENTITLED TO QUALIFIED IMMUNITY
              ON PLAINTIFF'S CLAIM UNDER THE FIRST AMENDMENT

       Plaintiffs claims against Green also must be dismissed because she cannot show that his

decision to remove her as Special Counsel violated clearly established First Amendment case law.

It is black-letter law that "[t]he doctrine of qualified immunity protects government officials 'from

liability for civil damages insofar as their conduct does not violate clearly established statutory or

constitutional rights of which a reasonable person would have known.'" Pearson v. Callahan, 555

U.S. 223, 231, 129 S.Ct. 808 (2009) (quoting Harlow v. 8 Fitzgerald, 457 U.S. 800, 818, 102 S.Ct.

2727 (1982)). When entitlement to qualified immunity is the issue, the analysis always turns on

whether or not the allegedly violated right was "clearly established." See Id. In order for a

constitutional right to be "clearly established," the "existing precedent must have placed the

statutory or constitutional question beyond debate." White v. Pauly, 580 U.S. 73, 76, 137 S. Ct.

548, 551 (2017) (emphasis added) (internal quotation marks and citation omitted). A constitutional

question is placed beyond debate by either "controlling authority" from the Supreme Court, the

Second Circuit, or "a robust 'consensus of cases of persuasive authority.'" Ashcroft v. al-Kidd, 563

U.S. 731, 742, 131 S.Ct. 2074 (2011) (quoting Wilson v. Layne, 526 U.S. 603, 617, 119 S.Ct. 1692

(1999)); See Terebisi v. Torreso, 764 F.3d 217, 231 (2d Cir. 2014) (holding that "[t]o determine

whether the relevant law was clearly established, we consider . . . the existence of Supreme Court

or Court of Appeals case law on the subject...."). "It is not enough that the rule is suggested by

then-existing precedent." Dist. of Columbia v. Wesby, 138 S. Ct. 577, 590 (2018). Rather, "the

precedent must be clear enough that every reasonable official would interpret it to establish the


                                                 23
   Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 30 of 42




particular rule the plaintiff seeks to apply. Otherwise the rule is not one that every reasonable

official would know." Id. (internal quotation marks and citations omitted). If there is no case law

analyzing "the very action in question," id., a court may analyze whether the alleged constitutional

violation is such an "obvious case" that a body of relevant case law is unnecessary to find a

violation of clearly established law. See Brosseau v. Haugen, 543 U.S. 194, 198-99, 125 S.Ct. 596

(2004).

          In the context of claims under the First Amendment, the "obvious case" is exceedingly

rare. Brosseau, 543 U.S. at 199; see Wesby, 138 S. Ct. at 581 (noting the possibility of "the rare

obvious case" where the unlawfulness of conduct is clear even though existing precedent does not

address similar circumstances). The Supreme Court "repeatedly" has instructed lower courts "not

to define clearly established law at a high level of generality" when conducting qualified immunity

analyses. al-Kidd, 563 at 742 (citing Wilson, 526 U.S. at 615; Anderson v. Creighton, 483 U.S.

635, 639-40, 107 S.Ct. 3034 (2000). Instead, the stated legal principle must "clearly prohibit" the

alleged conduct "in the particular circumstances" at hand, which requires "a high degree of

specificity." Wesby, 138 S. Ct. at 590 (internal quotation marks and citation omitted). These

instructions apply equally to First Amendment claims. See, e.g., Reichle v. Howards, 566 U.S.

658, 664-65, 132 S.Ct. 2088 (2012) (analyzing the plaintiff's First Amendment claim and holding

that "the right allegedly violated must be established not as a broad general proposition but in a

particularized sense so that the contours of the right are clear to a reasonable official" (internal

quotation marks and citations omitted).

       There is no case law from the Supreme Court or the Second Circuit holding that Green's

actions in the "particular circumstances" presented in this case constitute a violation of the First

Amendment. To the contrary, controlling cases analyzing First Amendment issues in the public



                                                24
   Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 31 of 42




employment setting, including Pickering, Connick, Garcetti and Lane, supra, support the

conclusion that Green's removal of Plaintiff from the role of Special Counsel did not violate the

First Amendment. Therefore, in no way did these cases or their ilk send signals to reasonable

agency heads such as Green that it was beyond debate that removing Plaintiff from the position of

Special Counsel for the reasons he did would violate the First Amendment. Moreover, as discussed

supra, the Second Circuit held in D'Olimpio -- albeit in an unreported opinion that might not have

precedential value but that did signal the Second Circuit's jurisprudence -- that taking an adverse

employment action against an employee for making statements to the OIG did not violate the First

Amendment. Therefore, it was entirely reasonable for Green to believe that his actions were lawful,

particularly where his counsel (e.g. Czajka and Bonacquist) and the Office of the Governor did not

raise any concern to Green about his proposed course of action. Def. L.R. 56.1 St. TIT 138-140.

More specifically, Czajka and Bonacquist, both of whom are attorneys and advisors to Green, were

aware of the fact that Green intended to remove Plaintiff as Special Counsel. Id. Czajka and/or

Bonacquist reviewed the statements Plaintiff made while speaking with the OIG and

        Efor Green to discuss with Plaintiff while meeting with her on December 5, 2017. Def.
L.R. 56.1 St. TT 74-75. Green also communicated with Popcun, and Czajka communicated with

Silverman about the possible removal of Plaintiff as Special Counsel for DCJS, and received the

greenlight from the Governor's Office to proceed with her removal Def. L.R. 56.1 St. filf 76-82,

140. There is no admissible evidence to show that any concerns ever were raised to Green that

Plaintiff's OIG statements to the OIG in any way implicated the First Amendment, let alone any

concern that Green would violate the First Amendment by removing Plaintiff as Special Counsel.

Therefore, Green is entitled to qualified immunity on Plaintiff's First Amendment claim.




                                               25
   Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 32 of 42




        Finally, this Court should follow the Supreme Court's instructions regarding the need to

apply the principles of constitutional avoidance in qualified immunity cases. In Camreta v. Greene,

the Supreme Court stated "indeed, our usual adjudicatory rules suggest that a court should forbear

resolving this [constitutional] issue. After all, a longstanding principle of judicial restraint requires

that courts avoid reaching constitutional questions in advance of the necessity of deciding them."

Camreta, 563 U.S. 692, 705, 131 S.Ct. 2020 (2011) (emphasis in original) (internal quotation

marks and citations omitted). As was further stated in Camreta, "[i]n general, courts should think

hard, and then think hard again, before turning small cases into large ones." Id. at 707. This Court

should apply this principle to avoid unnecessarily deciding unsettled constitutional issue and

turning this small case into a large one. However, should the Court choose to consider the

constitutional question, it should find that Green' actions were consistent with First Amendment

principles announced by the Supreme Court, and that they also were consistent with more factually

analogous cases decided by other courts pertaining to the First Amendment rights of public

employees.

       Accordingly, since Plaintiff cannot show that Green violated clearly established law, Green

is entitled to qualified immunity on Plaintiff's First Amendment claim.

                                              POINT III

                        PLAINTIFF CANNOT SHOW THAT GREEN
                       RETALIATED AGAINST HER IN VIOLATION
                       OF THE EQUAL PROTECTION CLAUSE OR
                        NEW YORK HUMAN RIGHTS LAW § 296(7)

       Plaintiff claims that her removal as Special Counsel constitutes retaliation in violation of

the Equal Protection Clause of the Fourteenth Amendment to the United States Constitution and




                                                  26
    Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 33 of 42




New York State Human Rights Law ("NYSHRL") § 296(7)3. Dkt. No. 76, IN 131-137. "[T]he

elements of a retaliation claim based on an equal protection violation under § 1983 mirror those

under Title VII [of the Civil Rights Act of 1964]," Vega v. Hempstead Union Free Sch. Dist., 801

F.3d 72, 91 (2d Cir. 2015), as well as claims under the NYSHRL. See McMenemy v. City of

Rochester, 241 F.3d 279, 283 n.1 (2d Cir. 2001). Using the standard for retaliation claims under

Title VII, Plaintiff must show that: (1) defendants acted under the color of state law, and (2)

defendants took an adverse employment action against her (3) because she complained of or

otherwise opposed discrimination. Vega, 801 F.3d at 91. For an adverse retaliatory action to be

"because" a plaintiff made a charge, the plaintiff must plausibly allege that "the retaliation was a

`but-for' cause of the employer's adverse action". Id. Since Plaintiff cannot show that she

complained of or otherwise opposed discrimination when she spoke with the OIG, or that any

opposition to discrimination was the reason why she was removed as Special Counsel, her claims

under the Equal Protection Clause, and NYSHRL must fail.

         Plaintiff has broadly identified her protected activity as the statements that she made to

OIG investigators on August 3, 2017.4 However, speaking with the OIG is not, in-and-of itself, a

protected activity under the Equal Protection Clause or the NYSHRL. Rather, Plaintiff must show

that the content of her statements to the OIG somehow implicate the Equal Protection Clause or

the NYSHRL, which they do not.

         Over the course of the approximately seventy-five minutes that Plaintiff met with the two

OIG investigators on August 3, 2017, Plaintiff did not identify any conduct that was taking place




3 In Point V, infra, Green sets forth independent grounds for dismissing Plaintiff's claim under the New York State
Human Rights Law.
4 Although Plaintiff may contend that the transcript is not accurate or complete, (Dkt. No. 59-1, p. 18, fn. 11), it is
undisputed that Green had no information about Plaintiff's statements to the OIG when he met with Plaintiff on
December 5, 2017, other than what is reflected in the transcript. See Fitzgerald Aff. ¶ 5, Ex. C, p. 176.

                                                          27
   Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 34 of 42




which, to the extent that it occurred or was occurring, would amount to a violation of Equal

Protection Clause or the NYSHRL. In fact, the overwhelming majority of Plaintiff's statements to

the OIG had nothing to do with any traits protected under the Equal Protection Clause or the

NYSHRL.

       Plaintiff concedes that she never discussed any aspect of race discrimination at DCJS while

meeting with the OIG. Def. L.R. 56.1 St. ¶ 141. With respect to age,




                                                                                Def. L.R. 56.1 St. ¶

142. Plaintiff initially responded by saying



                                       Def. L.R. 56.1 St. 11143. Plaintiff told the OIG that



                                                                                      Def. L.R. 56.1

St. ¶ 144. When Plaintiff was asked whether




                                                          Def. L.R. 56.1 St.   r 145-146. Later on,
however, Plaintiff told the OIG

                                  Def. L.R. 56.1 St. ¶ 147. These are the only statements that could

arguably relate to age in any way, and they do not qualify as complaining about or otherwise

opposing age discrimination.




                                                 28
   Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 35 of 42




        With respect to sex, Plaintiff was asked to



                       Def. L.R. 56.1 St. ¶ 148. When shown                   Plaintiff did not initially

recall them. Def. L.R. 56.1 St. ¶ 149. After discussing the            Plaintiff told the OIG

                                                                                     Def. L.R. 56.1 St.

  150. Thus, responding to questions about                                                        about

conduct that had not occurred again does not qualify as complaining about or otherwise opposing

sex discrimination.

        Although Plaintiff broadly stated at one point that Gestring makes

                  she could not provide any examples to the OIG. Def. L.R. 56.1 St. ¶¶ 151-152.

Plaintiff also offered her "personal feeling" and "personal perception" that



                                                                     Def. L.R. 56.1 St. ¶ 153.




                                                                            Def. L.R. 56.1 St. ¶154.

These are the only statements Plaintiff made while meeting with the OIG that could arguably relate

to sex and they do not qualify as complaining about or otherwise opposing sex discrimination

sufficient to support a retaliation clam under the Equal Protection Clause.

       Once the Court strips away the hyperbolic rhetoric that Plaintiff employs in this lawsuit to

give the false impression that her statements to the OIG related to protected traits, the transcript of

Plaintiff's OIG interview supports only one conclusion — Plaintiff did not complain about or




                                                  29
   Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 36 of 42




otherwise oppose any form of unlawful discrimination when she met with the OIG on August 5,

2017.

        Assuming arguendo that Plaintiff made statements to the OIG that identified conduct that

is prohibited under the Equal Protection Clause or the NYHRL, it is not enough for Plaintiff to

simply claim that she mentioned such conduct to the OIG, or that she was removed as Special

Counsel because she made statements to the OIG. Instead, Plaintiff must show that, but-for her

statements that relate to discrimination based on protected traits, Green would not have removed

her as Special Counsel. Plaintiff cannot establish this fundamental element of her claim.

        As discussed in detail in the Statement of Relevant Facts and Point I, supra, Green removed

Plaintiff as Special Counsel because he concluded that he could no longer be confident that the

advice he would receive from her as his Special Counsel would be based upon careful reasoning

and analysis of established and reliable facts. There is no admissible evidence to show that Green

removed Plaintiff from a position that he created for her two years earlier because she discussed a




        The fact that Green had no retaliatory motive against Plaintiff with respect to the few

comments that she made to the OIG that could be stretched to relate to protected traits is

exemplified by the totality of events in the four months that passed between the time Plaintiff

spoke with the OIG and the time she was removed as Special Counsel. When Plaintiff advised

Green that she had been asked to speak with the OIG, he was aware of the fact that the OIG had

broadened its focus to more than simply the                  record issue and, yet, Green posed no

objection to Plaintiff participating in an interview. Def. L.R. 56.1 St. ¶¶ 25-26, 155. While speaking

with the OIG, Plaintiff was



                                                 30
   Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 37 of 42




                                           Def. L.R. 56.1 St. 11156. Plaintiff certainly didn't

                                         After Plaintiff spoke with the OIG, Green did not speak

with Plaintiff about her OIG interview again until December 5, 2017. Def. L.R. 56.1 St. ¶ 157.

Within that time, Green was informed by the OIG on October 24, 2017, that

                                 Def. L.R. 56.1 St. r 33-40. Green's response to receiving

infoiniation from the OIG about                                confirms that Green was genuinely

concerned about the information he received, not that he was upset by it.

       According to Freedman, when he met with Green and Czajka on October 24, 2017,

Freedman recalled that Green

                               Def. L.R. 56.1 St. ¶ 158. When Freedman was asked




                               Def. L.R. 56.1 St. ¶ 159. Freedman further testified




                                               31
    Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 38 of 42




Def. L.R. 56.1 St. ¶ 160. When asked why

Freedman testified that Green and Czajka appeared




Def. L.R. 56.1 St. ¶ 161. According to Freedman,

                                                    As Freedman testified




Def. L.R. 56.1 St. ¶ 162.

        Immediately after receiving infoiiiiation about OFS from the OIG, Green assigned Van

Kampen, an experienced former investigator for the New York State Division of Human Rights

("Division") who had conducted more than a thousand investigation at the Division and supervised

others doing the same, to conduct a thorough investigation. Def. L.R. 56.1 St. ¶ 41. Van Kampen

testified



             Def. L.R. 56.1 St. ¶ 163-165. Van Kampen ultimately



                                           Def. L.R. 56.1 St. ¶ 166-168. These actions clearly

demonstrate that Green wanted to know if unlawful discrimination had occurred or was occurring



                                               32
   Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 39 of 42




in OFS so it could be addressed; not that he was upset with Plaintiff or anyone else for providing

infoitnation to the OIG.

         The undisputed evidence, therefore, shows that Green's decision to remove Plaintiff as his

Special Counsel was motivated by his loss of confidence in Plaintiffs abilities as an attorney based

upon the manner in which she conducted herself while speaking to an agency investigating her

own while under oath, not because he held a retaliatory animus towards her for engaging in activity

protected by the Equal Protection Clause or the NYSHRL. Accordingly, Plaintiff's Second Cause

Action for Retaliation under the NYSHRL, and Plaintiffs Fourth Cause of Action for retaliation

under the Equal Protection Clause, 42 U.S.C. § 1983, must be dismissed pursuant to Fed. R. Civ.

P. 56.

                                             POINT IV

                     GREEN IS ENTITLED TO QUALIFIED IMMUNITY
                      ON PLAINTIFF'S EQUAL PROTECTION CLAIM

         Using the standard set forth in Point II, supra, for assessing whether Green is entitled to

qualified immunity, there was no clearly established law in December 2017, which informed Green

that Plaintiffs statements to the OIG — in contrast to statements made to the Division, the EEOC,

or the New York State Governor's Office of Employee Relations (e.g. agencies which are solely

or specifically responsible for investigating and responding to complaints of unlawful

discrimination and harassment) -- constituted protected activity under the Equal Protection Clause,

or that removing Plaintiff as Special Counsel because she made uninformed statements to the OIG

about matters unrelated to any protected trait would violate the Equal Protection Clause. As a

result, Green is entitled to qualified immunity with respect to Plaintiffs claim under the Equal

Protection Clause, 42 U.S.C. § 1983.




                                                 33
   Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 40 of 42




                                              POINT V

                        PLAINTIFF'S CLAIM UNDER THE NYSHRL
                       MUST BE DISMISSED AS A MATTER OF LAW

        At the outset of this lawsuit, Green moved to dismiss Plaintiff's claims under the NYSHRL

pursuant to Fed. R. Civ. P. 12. Dkt. No. 36-2, Point V. In part, Green argued that he could not

have violated the NYSHRL because he is not Plaintiff's "employer" within the meaning of the

law. The Court rejected Green's argument and held that "an individual can be an 'employer,'

because the case law says as much." Dkt. No. 75, p. 17 (internal citations omitted). Approximately

two years after the Court reached this conclusion, the New York State Court of Appeals issued a

decision in Doe v. Bloomberg L.P., 36 N.Y.3d 450, 167 N.E.3d 454 (2021) that contradicts this

ruling. In Doe, the Court of Appeals held that "[a] corporate employee, though the employee has

a title as an officer and is the manager or supervisor of a corporate division . . . is not individually

subject to suit with respect to discrimination . . . under New York's Human Rights Law . . ." Doe

v Bloomberg, L.P., (clarifying the standard set forth in Patrowich v. Chemical Bank, 63 N.Y.2d

541, 542, 483 N.Y.S.2d 659, 473 N.E.2d 11 (N.Y. 1984)). In other words, the NYSHRL "does not

render employees liable as individual employers ... regardless of the employee's position or

relationship to the employer." Id. See also, Bonaffini v. City Univ. of N.Y , 2021 WL 2895688 at

*2 (E.D.N.Y. July 9, 2021); Stevenson v. N.Y.S. Dep't of Corr., 2022 WL 179768, at *20

(W.D.N.Y January 20, 2022); Sutter v. Dibello, 2021 WL 930459, at *24 (E.D.N.Y. March 10,

2021). Thus, under Doe, Green cannot be held liable under the NYSHRL as Plaintiff's "employer".

       Plaintiff also sued Green in the alternative under the "aider and abettor" provision of the

NYSHR, Executive Law § 296(6). In order to hold Green liable under Section 296(6), Plaintiff

must initially establish a primary violation of the NYSHRL by her employer, which is DCJS,

because a party cannot aid or abet his or her own violation of the NYSHRL. See Martin v NY State

                                                  34
   Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 41 of 42




Dep't of Corr. Servs., 224 F.Supp.2d 434, 442 (N.D.N.Y. 2002) (holding that "liability must first

be established as to the employer/principal before accessorial liability can be found as to an alleged

aider and abettor"). Plaintiff specifically referenced this well-established rule of law when

opposing Green's Rule 12 motion, where she argued that "[a]n aider and abettor claim under the

NYHRL can be established as long as liability is first established as to the employer/principal."

Dkt. No. 59-1, p. 20 (citing Matthews v. Corning Inc., 77 F. Supp. 3d 275, 300 (W.D.N.Y. 2014)).

However, Plaintiff chose not to make DCJS a party to this lawsuit. Therefore, since Plaintiff cannot

establish liability as to her employer, DCJS, in this lawsuit, she cannot hold Green liable in this

lawsuit as an aider and abettor to DCJS as a matter of law.

       Accordingly, in addition to the reasons set forth in Point III, supra, under Doe and Martin,

Plaintiff's Second Cause of Action under the NYSHRL must be dismissed as a matter of law.

                                          CONCLUSION

       Defendant Michael C. Green respectfully requests that the Court grant his motion for

complete summary judgment pursuant to Fed. R. Civ. P. 56, together with such other and further

relief as may be deemed just and proper by the Court.

DATED: May 27, 2022

                                              GIRVIN & FERLAZZO, P.C.,


                                              By:/
                                                      Patrick J. Fitzgerald III
                                                      Bar Roll No.: 511103
                                                      Scott P. Quesnel, Esq.
                                                      Bar Roll No.: 513710
                                                      Attorneys for Defendant Michael C. Green
                                                      20 Corporate Woods Blvd., 2nd Floor
                                                      Albany, New York 12211
                                                      Telephone: (518) 462-0300




                                                 35
  Case 1:18-cv-00619-GLS-DJS Document 188-2 Filed 05/27/22 Page 42 of 42




TO:   John W. Bailey, Esq.
      Crystal R. Peck, Esq.
      Bailey, Johnson & Peck, P.C.
      Attorneys for Plaintiff Gina Bianchi
      5 Pine West Plaza, Suite 507
      Washington Avenue Extension
      Albany, New York 12205
      (518) 456-0082

      Tina E. Sciocchetti, Esq.
      Andrew C. Rose, Esq.
      Jeffrey League, Esq.
      Todd R. Shinaman, Esq.
      Nixon, Peabody Law Firm - Albany Office
      Attorneys for Defendant John Czajka
      677 Broadway
      10th Floor
      Albany, NY 12207
      518-427-2677




                                             36
